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9                         UNITED STATES DISTRICT COURT
10                     SOUTHERN DISTRICT OF CALIFORNIA
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     SECURITIES AND EXCHANGE
12   COMMISSION,
                                                         '16CV1013 WQHNLS
                                                Case No. ________________
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                 Plaintiff,
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           vs.
15                                               COMPLAINT
16   ASHER Z. ZWEBNER,
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                 Defendant.
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20   Plaintiff Securities and Exchange Commission alleges:
21   I.    INTRODUCTION
22         1.    The Commission brings this action to enjoin Defendant Asher Z.
23   Zwebner (“Zwebner”) from violating the antifraud provisions of the federal
24   securities laws. From no later than September 2010 through December 2011,
25   Zwebner engaged in a scheme to create a publicly-traded shell company, Crown
26   Dynamics Corp. (“Crown”), through a sham registered initial public offering
27   (“IPO”).
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1           2.       Zwebner secretly controlled every aspect of Crown’s registration and
2    the IPO. He filed a false Form S-1 registration statement with the Commission on
3    behalf of the company, and after the registration became effective, placed Crown’s
4    free-trading shares with nominees residing in Israel, most of whom were unaware
5    of their role as nominees. Zwebner then gained physical control of their stock
6    certificates.    He subsequently engaged a U.S. broker-dealer to submit to the
7    Financial Industry Regulatory Authority (“FINRA”) a false Form 15c2-11under
8    Rule 15c2-11 of the Exchange Act, 17 CFR § 240.15c2-11, so that Crown’s
9    common stock would be quoted on the Over-the-Counter Bulletin Board
10   (“OTCBB”) and the OTC Link (an SEC-registered Alternative Trading System).
11          3.       Throughout the registration process, Zwebner omitted to disclose his
12   control over Crown, made false statements about Crown’s business purpose and
13   plans, and used unwitting nominees as the purported IPO purchasers.             After
14   Zwebner registered Crown’s offering and arranged for its stock to trade on the
15   OTCBB and on OTC Link, he secretly sold the Crown shell to stock promoter
16   Christopher D. Larson (“Larson”).
17          4.       As a result of the conduct alleged in this Complaint, Zwebner violated
18   Section 17(a) of the Securities Act of 1933 (“Securities Act”), 15 U.S.C. § 77(q)(a);
19   and Section 10(b) and Rule 10b-5 of the Securities Exchange Act of 1934
20   (“Exchange Act”), 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5. Unless restrained
21   and enjoined, Zwebner is reasonably likely to continue to violate the federal
22   securities laws.
23   II.    DEFENDANT AND RELATED ENTITIES AND INDIVIDUALS
24          A.       Defendant
25          5.       Zwebner, age 52, is a dual British and Israeli citizen and resides in
26   Jerusalem, Israel. During the relevant time period, he purported to be an accountant
27   and consultant who organized companies that traded on the U.S. over-the-counter
28   market. Zwebner declined to testify before the Israeli Securities Authority in

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1    connection with the Commission’s investigation based on his Fifth Amendment
2    privilege against self-incrimination.
3            B.    Related Entities and Individuals
4            6.    During the relevant time period, Crown was a Delaware corporation.
5    On or about September 21, 2010, in its initial public offering registration statement,
6    Crown claimed it planned to develop a patent for a toothbrush. After its registration
7    became effective, the company’s stock began trading under the symbol CDYY and,
8    in January 2012, Crown announced a new product – an electronic monitoring
9    device called PomCom. During the relevant time period, Crown stock traded in the
10   U.S. on the over-the-counter market, and its IPO shares were issued in the U.S. by a
11   U.S. registered transfer agent. U.S. investors purchased and sold shares here and
12   through U.S. broker-dealers. Later in 2012, Crown merged into Airware Labs
13   Corp.
14           7.    Larson, age 44, resides in Arizona. During the relevant time period, he
15   purchased the Crown shell from Zwebner. The Commission has filed a separate
16   action against Larson.
17   III.    JURISDICTION AND VENUE
18           8.    The Court has jurisdiction over this action pursuant to Sections 20(b),
19   20(d) and 22(a) of the Securities Act, 15 U.S.C. §§ 77t(b), 77t(d) and 77v(a); and
20   Sections 21(d) and 27(a) of the Exchange Act, 15 U.S.C. §§ 78u(d) and 78aa(a).
21           9.    The Court has personal jurisdiction over Zwebner and venue is proper
22   in this District because, among other things, many of the acts and transactions
23   constituting the violations alleged in this Complaint occurred in this District. In
24   addition, venue is proper in this District under 28 U.S.C. § 1391 because a
25   substantial part of the events giving rise to the Commission’s claims occurred here.
26           10.   In connection with the conduct alleged in this Complaint, Zwebner,
27   directly and indirectly, singly or in concert with others, has made use of the means
28   or instrumentalities of interstate commerce, the means or instruments of

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1    transportation or communication in interstate commerce, the mails, and/or the
2    facilities of a national securities exchange.
3    IV.   FACTUAL BACKGROUND
4          A.      Zwebner Registers Crown’s IPO
5          11.     Crown was incorporated in Delaware in June 2010, purportedly by an
6    Israeli named Amir Rehavi (“Rehavi”). In reality, Rehavi was Zwebner’s nominee
7    and was unaware his name was associated with Crown or its securities. The record
8    owners of the company’s stock were Rehavi and another officer, Chana Zehavi
9    (“Zehavi”).    Crown purportedly issued 1.5 million shares each to Rehavi and
10   Zehavi shortly after the company was incorporated. In reality, however, Zwebner
11   controlled all three million shares.
12         12.     Two months after Crown was incorporated, Zwebner retained a U.S.
13   transfer agent to handle the issuance and cancellation of Crown’s share certificates.
14   Thereafter until he sold the Crown shell to Larson, Zwebner was the sole Crown
15   representative who communicated with the transfer agent.
16         13.     Zwebner misrepresented to the transfer agent that Rehavi was Crown’s
17   CEO. Crown’s agreement with the transfer agent purported to be signed by Rehavi
18   and witnessed by a New York County notary. In reality, both Rehavi’s and the
19   notary’s signatures were forged on the document. In September 2010, at Zwebner’s
20   instruction, the transfer agent shipped Rehavi’s and Zehavi’s share certificates to
21   Zwebner rather than to them as the named shareholders.
22         14.     On September 21, 2010, Crown filed a Form S-1 Registration
23   Statement with the Commission and, over the next year in response to the
24   Commission’s comments, filed seven amendments. Zwebner managed every aspect
25   of the securities registration process. He worked with a U.S. securities attorney to
26   prepare the Form S-1 and amendments thereto and respond to questions raised in
27   the Commission’s comment letters. Zwebner also worked with a firm he hired to
28   file the Form S-1 and other reports with the Commission.

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1               15.   According to the third amendment to the Form S-1, filed on May 12,
2    2011, Crown acquired a patent for a toothbrush that it planned to license to third-
3    parties which would “design, manufacture and market a product based on the Patent
4    . . . .”
5               16.   Despite Zwebner’s control of the company and its registration process,
6    his name did not appear anywhere in the Form S-1 or subsequent filings with the
7    Commission. Zwebner’s conduct was illegal because Items 401(a) and 404(c) of
8    Regulation S-K, 17 CFR §§ 229.401(a) and 229.404(c), require disclosure of
9    officers, directors, promoters, and control persons and related transactions
10   conducted by them to be included as part of any Form S-1 filing. Zwebner knew,
11   or was reckless in not knowing, that Crown’s Form S-1 should have disclosed his
12   control of the company and ownership of its stock, but omitted to do so.
13              17.   While Crown’s request to register its securities was pending with the
14   Commission, Zwebner disguised himself as Crown’s nominal CEO, Rehavi, so the
15   Commission would send its comment letters to him rather than Rehavi.                To
16   accomplish this deception, on June 27, 2011, Zwebner created an email account that
17   had the address: amir.rehavi@gmail.com. The same day, Zwebner told company
18   counsel to provide the address to the Commission examiner who was reviewing the
19   Form S-1. As requested by Zwebner, on July 11, 2011, counsel sent the address to
20   the Commission. Thereafter, the Commission emailed three comment letters to that
21   address, each of which was addressed to Amir Rehavi. Because the email account
22   belonged to Zwebner, it was he – rather than Amir Rehavi – who received the
23   letters from the Commission.          When the Commission sent the letters to that
24   address, it was unaware it was communicating with Zwebner rather than Rehavi,
25   the intended recipient of the communication.
26              18.   Zwebner arranged to sell the Crown shell even before its registration
27   became effective.        On August 22, 2011, Crown filed its seventh (and final)
28   amendment to the Form S-1. The amendment misrepresented that management did

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1    “not have any current intentions, negotiations, or arrangements to merge or sell the
2    Company.” The statement was false because Zwebner had already arranged to sell
3    the company: just six days after filing the amendment, Zwebner notified Crown’s
4    outside auditor that the Crown shell had been sold and the transaction would close
5    in approximately two months. Zwebner therefore knew, or was reckless in not
6    knowing, that the amendment falsely disclosed there were no plans to sell the
7    company.
8          19.    On September 7, 2011, relying on the accuracy of the amendment, the
9    Commission declared Crown’s registration effective.         When the Commission
10   allowed the registration to go effective, it was unaware Zwebner was the company’s
11   undisclosed principal and that he already had arranged to sell the company –
12   including its free-trading shares that were supposed to be offered to public investors
13   in a not-yet-commenced IPO. Once the registration became effective, Crown could
14   commence its IPO.
15         B.     Zwebner and his Son Create a Fictitious IPO Subscriber List
16         20.    The next step in the scheme was to create freely-tradable shares that
17   would make Crown valuable to stock manipulators who might purchase the Crown
18   shell. To that end, Zwebner orchestrated a sham IPO pursuant to which he caused
19   shares to be issued to his nominees. In reality, however, Zwebner owned and
20   controlled the IPO shares both before and after the IPO.
21         21.    The final amendment to the Form S-1 described the procedures for
22   subscribing to the IPO that Zwebner never intended to follow. The procedures
23   stated that investors wishing to purchase IPO shares would be required to submit a
24   subscription agreement and deliver funds to Crown for the purchase. Instead of
25   conducting a real IPO, Zwebner engaged in an elaborate charade to make it appear
26   that Crown had done so. Zwebner and his son persuaded acquaintances to hand
27   over unsigned photocopies of their blank personal checks. In doing so, Zwebner
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1    and his son hid from them the fact that they would be identified as Crown’s IPO
2    subscribers and that Crown stock certificates would be issued in their names.
3          22.    Once Zwebner had the checks, he or his son forged the payor
4    signatures, inserted “Crown Dynamics Corp” as the payee, and inserted $1,875 as
5    the payment amount. In many if not all cases, the checks were never presented for
6    payment.     Zwebner constructed a list of 40 IPO subscribers, each of whom
7    purportedly purchased 62,500 shares (totaling 2.5 million shares). At least 24 of
8    the so-called subscribers – and most likely all 40 –never purchased Crown shares.
9    Zwebner knew, or was reckless in not knowing, that the IPO subscriber list was
10   nothing more than a make-believe list of shareholders who never actually purchased
11   the stock.
12         23.    Zwebner then provided the fabricated IPO shareholder list to Crown’s
13   transfer agent, along with a share issuance resolution purportedly signed by Crown
14   officer Zehavi. The resolution directed the transfer agent to issue share certificates
15   in the names of the 40 IPO subscribers and to ship them to Zwebner rather than the
16   named shareholders. The transfer agent followed the instruction and, on or about
17   October 24, 2011, sent all 40 share certificates to Zwebner. Most, if not all, of the
18   individuals named on the share certificates never received them or even knew of
19   their existence.
20         C.     Zwebner Arranges for Crown’s Stock to Trade Over-The-Counter
21         24.    The next phase in the scheme – one that was important to make the
22   Crown shell valuable to any potential stock manipulator who would purchase it –
23   was to create a trading market for the Crown shell.
24         25.    The OTCBB is a quotation service for securities that are not listed or
25   traded on NASDAQ or any other national securities exchange. While exchanges
26   (such as NASDAQ and NYSE) have specific listing and maintenance standards that
27   are stringently enforced, OTC quotation services (such as OTCBB) facilitate
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1    quotation of unlisted securities. As such, any regulatory relationship between an
2    OTC quotation service and the companies may be limited or non-existent.
3          26.      For a company to have its securities quoted on the OTCBB, a Form
4    211 must be submitted to FINRA by a “market maker” regarding the company’s
5    securities. A market maker is a firm that stands ready to buy and sell a particular
6    stock on a regular and continuous basis at a publicly quoted price. The market
7    maker must demonstrate compliance with Rule 15c2-11 of the Exchange Act, 17
8    CFR § 240.15c2-11, before it can initiate a quote in a specific security. Rule 15c2-
9    11 requires that a market maker have a reasonable basis to believe the information
10   required is accurate in all material respects and from a reliable source.
11         27.      On or about September 8, 2011 – the day after the Commission
12   declared Crown’s registration effective – Zwebner arranged for a broker-dealer to
13   file a Form 211 regarding Crown’s securities so that quotations could be published
14   on the OTCBB. Zwebner was the broker-dealer’s exclusive contact for information
15   about Crown the broker-dealer needed in order to successfully clear the Form 211
16   with FINRA and commence publishing quotations regarding Crown’s securities.
17         28.      On or about September 14, 2011, the broker-dealer submitted a Form
18   211 regarding Crown’s securities to FINRA.          The application contained false
19   information that Zwebner had provided to the broker-dealer including, for example:
20                that Amir Rehavi was Crown’s CEO;
21                that Crown intended to license a toothbrush patent to third parties to
22                  design, manufacture and market the product; and
23                that Crown had not entered into any discussions or negotiations
24                  concerning potential merger or acquisition candidates.
25         29.      Those statements were false because Rehavi never acted as CEO;
26   Crown did not intend any longer to pursue the toothbrush patent; and, less than a
27   month earlier, Zwebner had arranged to sell the Crown shell. When Zwebner
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1    provided this information to the broker-dealer he knew, or was reckless in not
2    knowing, that it was untrue.
3          30.      In a letter dated September 20, 2011, FINRA informed the broker-
4    dealer that the Form 211 concerning Crown was deficient and requested additional
5    information including the following:
6                 a current shareholder list;
7                 a statement indicating whether anyone controlled Crown’s shares other
8                   than the named shareholders;
9                 details on Crown’s IPO including copies of the IPO subscribers’
10                  checks reflecting payment for their Crown shares; and
11                details on Crown’s business plan.
12         31.      On or about September 20, 2011, the broker-dealer sent FINRA’s
13   comment letter to Zwebner and wrote: “I will await your responses once they are
14   available.” Zwebner provided the broker-dealer with information to forward to
15   FINRA.
16         32.      In a letter dated October 26, 2011 but sent via overnight delivery the
17   following day, the broker-dealer responded to FINRA’s deficiency letter based on
18   the information Zwebner had provided. Zwebner was fully aware of the contents of
19   the letter because, before sending it to FINRA, the broker-dealer showed it to him.
20   The letter included the following false information:
21                the fraudulent shareholder list that Zwebner previously had provided to
22                  Crown’s transfer agent;
23                a statement misrepresenting that no one controlled Crown’s shares
24                  other than the named shareholders;
25                copies of the fraudulent IPO subscriber checks that Zwebner and his
26                  son had obtained from their acquaintances and a statement
27                  misrepresenting that the named officers/directors of Crown – rather
28                  than Zwebner and his son – had solicited the IPO subscribers and that

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1                   they had purchased their shares. Based on information provided to it
2                   by Zwebner, the broker-dealer represented the share certificates had
3                   been delivered, without explaining that they had been sent to Zwebner
4                   rather than to the named IPO subscribers; and
5                 a detailed description of Crown’s plan to license Crown’s product to
6                   third-party manufacturers and marketers that omitted to state that
7                   Zwebner was in the process of selling the company and had no
8                   intention of following the stated business plan.
9    When Zwebner provided this information to the broker-dealer he knew, or was
10   reckless in not knowing, that it was false.
11         33.      On or about November 2, 2011, in reliance on the false information
12   about Crown that Zwebner had funneled through the broker-dealer, FINRA cleared
13   the Form 211, which allowed the broker-dealer to quote Crown’s stock on the
14   OTCBB and on OTC Link.              The following day, the broker-dealer informed
15   Zwebner Crown had received a clearance letter from FINRA.
16         34.      Zwebner now had a valuable commodity to sell: A fully-registered
17   shell company with 2.5 million free-trading shares, and a ready-made trading
18   market into which the shares could be sold. He was ready to complete the sale of
19   the Crown shell that he had arranged in August 2011.
20         D.       Zwebner Sells the Crown Shell to Larson
21         35.      In mid-November 2011, Zwebner had not yet completed the sale of the
22   Crown shell that he had announced to Crown’s auditor three months earlier. On or
23   about November 16, 2011, when the auditor asked Zwebner to pay long overdue
24   bills, Zwebner responded that he would pay “[a]s soon as Crown will be sold . . . .”
25   The sale was completed a month later.
26         36.      On or about December 6, 2011, Larson wired $300,000 from a bank
27   account titled to an entity he controlled to the trust account of an attorney, which
28   reflected that payment was for Crown. Two days later, the attorney wired $25,000

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1    to Zwebner. On December 14, 2011, the attorney wired an additional $206,127 to
2    Zwebner through a financial cash change house in Jerusalem. On December 15,
3    2011, Larson wired an additional $25,000 from the same bank account he
4    controlled to another of the attorney’s trust accounts.
5    Zwebner’s Scienter: Other Wrongful Acts Demonstrating Zwebner’s Intent to
6                        Fraudulently Create Public Shell Companies
7          37.      Zwebner knowingly or recklessly failed to disclose his control of
8    Crown and ownership of its stock in filings with the Commission.          He also
9    knowingly or recklessly misrepresented that there were no plans to sell the
10   company and that the IPO subscribers were nothing more than a make-believe list
11   of shareholders who never actually purchased the stock. He also knowingly or
12   recklessly provided false information to the broker-dealer who in turn provided the
13   information to FINRA.
14         38.      Crown was not Zwebner’s only foray into the public shell company
15   creation business. In several other instances in roughly the same time period in
16   which he launched Crown, Zwebner also created other phony shell companies using
17   the same blueprint he used for Crown.
18         39.      For example, Zwebner arranged sham registered offerings for the
19   following shell companies:
20                Dynamic Applications Corp. now known as OWC Pharmaceutical
21                  Research Corp. by virtue of a name change amendment agreed to on
22                  November 25, 2014 (trading symbol OWCP) (registration effective on
23                  May 15, 2008);
24                Dynamic Ventures Corp. (registration effective on March 29, 2010);
25                Advanced Ventures Corp. (registration effective on May 10, 2011);
26                Safecode Drug Technologies Corp. (registration effective on
27                  December 27, 2011); and
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1                 Baby All Corp. now known as Santa Fe Petroleum, Inc. (trading
2                   symbol SFPI).
3          40.      In his activities concerning these shell companies, Zwebner’s conduct
4    demonstrated the same pattern and practice he followed in setting up Crown. For
5    example, Zwebner caused registration statements to be filed with the Commission,
6    representing the companies would conduct IPOs and that they owned or had been
7    assigned patents (or pending patents) for products they purportedly planned to
8    develop. In each case he took physical possession of the named officers’ share
9    certificates that represented all of the outstanding shares before the IPO. As with
10   Crown, none of the registration statements filed with the Commission for these
11   companies identified Zwebner as a principal or even mentioned him at all.
12         41.     After the companies’ registrations became effective, Zwebner took
13   physical possession of the share certificates for stock that was purportedly sold to
14   IPO investors. As with Crown, at least some of the purported IPO investors were
15   Zwebner’s nominees who were unaware they had been listed as shareholders.
16         42.     Zwebner arranged for each of the companies’ shares to be traded over-
17   the-counter in the U.S., and he then sold some of the companies to third parties.
18                                         COUNT I
19                Fraud in Violation of Section 17(a)(1) of the Securities Act
20         43.      The Commission repeats and realleges Paragraphs 1 through 42 of its
21   Complaint.
22         44.      From no later than September 2010 through December 2011, Zwebner,
23   in the offer or sale of any securities by the use of any means or instruments of
24   transportation or communication in interstate commerce or by use of the mails,
25   directly or indirectly knowingly, willfully or recklessly employed any device,
26   scheme or artifice to defraud.
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1          45.    By reason of the foregoing, Zwebner violated, and, unless enjoined, is
2    reasonably likely to continue to violate, Section 17(a)(1) of the Securities Act, 15
3    U.S.C. § 77q(a)(1).
4                                        COUNT II
5                Fraud in Violation of Section 17(a)(2) of the Securities Act
6          46.    The Commission repeats and realleges Paragraphs 1 through 42 of its
7    Complaint.
8          47.    From no later than September 2010 through December 2011, Zwebner,
9    in the offer or sale of any securities by the use of any means or instruments of
10   transportation or communication in interstate commerce or by use of the mails,
11   directly or indirectly knowingly, willfully, recklessly, or negligently obtained
12   money or property by means of untrue statements of material facts or omissions to
13   state material facts necessary to make the statements made, in the light of the
14   circumstances under which they were made, not misleading.
15         48.    By reason of the foregoing, Zwebner violated, and, unless enjoined, is
16   reasonably likely to continue to violate, Section 17(a)(2) of the Securities Act, 15
17   U.S.C. § 77q(a)(2).
18                                      COUNT III
19               Fraud in Violation of Section 17(a)(3) of the Securities Act
20         49.    The Commission repeats and realleges Paragraphs 1 through 42 of its
21   Complaint.
22         50.    From no later than September 2010 through December 2011, Zwebner,
23   in the offer or sale of any securities by the use of any means or instruments of
24   transportation or communication in interstate commerce or by use of the mails,
25   directly or indirectly knowingly, willfully, recklessly, or negligently engaged in
26   transactions, practices and courses of business which operated or would have
27   operated as a fraud or deceit upon the purchasers and prospective purchasers of
28   such securities.

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1          51.    By reason of the foregoing, Zwebner violated, and, unless enjoined, is
2    reasonably likely to continue to violate, Section 17(a)(3) of the Securities Act, 15
3    U.S.C. § 77q(a)(3).
4                                        COUNT IV
5      Fraud in Violation of Section 10(b) and Rule 10b-5(a) of the Exchange Act
6          52.    The Commission repeats and realleges Paragraphs 1 through 42 of its
7    Complaint.
8          53.    From no later than September 2010 through December 2011, Zwebner
9    directly and indirectly, by use of any means or instrumentality of interstate
10   commerce, or of the mails, knowingly, willfully or recklessly employed any device,
11   scheme or artifice to defraud in connection with the purchase or sale of any
12   security.
13         54.    By reason of the foregoing, Zwebner violated, and, unless enjoined, is
14   reasonably likely to continue to violate, Section 10(b) and Rule 10b-5(a) of the
15   Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(a).
16                                        COUNT V
17     Fraud in Violation of Section 10(b) and Rule 10b-5(b) of the Exchange Act
18         55.    The Commission repeats and realleges Paragraphs 1 through 42 of its
19   Complaint.
20         56.    From no later than September 2010 through December 2011, Zwebner
21   directly and indirectly, by use of any means or instrumentality of interstate
22   commerce, or of the mails, knowingly, willfully or recklessly made untrue
23   statements of material facts and omitted to state material facts necessary in order to
24   make the statements made, in the light of the circumstances under which they were
25   made, not misleading in connection with the purchase or sale of any security.
26         57.    By reason of the foregoing, Zwebner violated, and, unless enjoined, is
27   reasonably likely to continue to violate, Section 10(b) and Rule 10b-5(b) of the
28   Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(b).

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1                                        COUNT VI
2      Fraud in Violation of Section 10(b) and Rule 10b-5(c) of the Exchange Act
3          58.    The Commission repeats and realleges Paragraphs 1 through 42 of its
4    Complaint.
5          59.    From no later than September 2010 through December 2011, Zwebner
6    directly and indirectly, by use of any means or instrumentality of interstate
7    commerce, or of the mails, knowingly, willfully or recklessly engaged in acts,
8    practices and courses of business which operated or would have operated as a fraud
9    or deceit upon any person in connection with the purchase or sale of any security.
10         60.    By reason of the foregoing, Zwebner violated, and, unless enjoined, is
11   reasonably likely to continue to violate, Section 10(b) and Rule 10b-5(c) of the
12   Exchange Act, 15 U.S.C. § 78j(b) and 17 C.F.R. § 240.10b-5(c).
13                                RELIEF REQUESTED
14           WHEREFORE, the Commission respectfully requests the Court find
15   Zwebner committed the violations alleged, and:
16                                            I.
17                                 Permanent Injunction
18         Issue a Permanent Injunction restraining and enjoining Zwebner, his officers,
19   agents, servants, employees, attorneys, and all persons in active concert or
20   participation with them, and each of them, from violating the federal securities laws
21   alleged in this Complaint.
22                                            II.
23                                      Disgorgement
24         Issue an Order directing Zwebner to disgorge all ill-gotten gains, including
25   prejudgment interest, resulting from the acts or courses of conduct alleged in this
26   Complaint.
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1                                            III.
2                                          Penalty
3          Issue an Order directing Zwebner to pay a civil money penalty pursuant to
4    Section 20(d) of the Securities Act, 15 U.S.C. § 77t(d), and Section 21(d) of the
5    Exchange Act, 15 U.S.C. § 78u(d).
6                                             IV.
7                                      Penny Stock Bar
8          Issue an Order, pursuant to Section 20(g) of the Securities Act, 15 U.S.C. §
9    77t(g), and Section 21(d)(6) of the Exchange Act, 15 U.S.C. § 78u(d)(6), barring
10   Zwebner from participating in any future offering of a penny stock.
11                                            V.
12                                 Officer and Director Bar
13         Issue an Order, pursuant to Section 20(e) of the Securities Act, 15 U.S.C. §
14   77t(e), and Section 21(d)(2) of the Exchange Act, 15 U.S.C. § 78u(d)(2), barring
15   Zwebner from acting as an officer or director of any issuer that has a class of
16   securities registered pursuant to Section 12 of the Exchange Act or that is required
17   to file reports pursuant to Section 15(d) of the Exchange Act.
18                                            VI.
19                                      Further Relief
20         Grant such other and further relief as may be necessary and appropriate.
21                                           VII.
22                                 Retention of Jurisdiction
23         Further, the Commission respectfully requests the Court retain jurisdiction
24   over this action and over Zwebner in order to implement and carry out the terms of
25   all orders and decrees that may hereby be entered, or to entertain any suitable
26   application or motion by the Commission for additional relief within the
27   jurisdiction of this Court.
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1                                          Respectfully submitted,
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     DATED: April 26, 2016                 SECURITIES AND EXCHANGE
3                                          COMMISSION
4
                                           By: /s/ Patrick R. Costello
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